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Counsel for Plaintiff
UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF OREGON

PORTLAND DIVISION
leffrey Ross Gautier, and Club Mystic, LLC, Civil Aetion No. 3115-0\1-1130
Plaintiffs, COMPLAINT FOR
v, BREACH OF CONTRACT AND
INSURANCE BAD FAITH -~
Catlin Group Limited, dba Catlin S§)ecialty Demancl for lury Trial
lnsurance Compaiiy,
Deferidazit.

COMPLAINT FOR BREACH OF CONTRACT AND BAI) FAITH
Plaintiffs allege as foliows:
NATURE OF THE ACTI()N

1. 'l`his is a civil elaim against Defeiidant Catliii Gzeu§:) Liznited (“Catlin”) for breach
Of insurance contract and bad faith for Jfailure to defend Plaintiff Club Mystic, LLC (“Club
Mystic”) and failure to indemnify plaintiffs for injuries and damages resulting from an attack
against Plaiiitiff leffrey Gauthier (“Gauthier”) on August 11, 2012 On the Club Mystic premises

PARTIES
2. Gautliier at ali times material liezein Was and is a resident Of Vaneouvei', Clark

County, Washington.

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3. Club l\/lystic at all times material herein Was and is an Oregon Liinited liability
Cornpany operating a bar and restaurant known as Club Mystic in Portland, i\/inltnornah County,
Oregon.

4. Catlin is an international insurer based out of London and Berrnuda, but doing
business in the United States and Muitnoinab Connty, Oregon as Catiin Specialty lnsorance
Cornpany.

JURISDICTI.ON AND VENUE

5. Tliis court has jurisdiction pursuant to 28 U,S.C. § 1332 based on diversity of
citizenship of the parties Plaintiffs are citizens of Wasbington and Oregon, respectively
Defendant, upon information and beiie§, is ncta citizen of Washington or Oregon because it is not
incorporated or organized in Washington or Oregon and does not maintain its principal place of
business in either Washington or Oregon. Plaintiffs seek money damages in excess of $75,000.

6. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) as Club i\/iystic
resides Witbin this District' and a substantial part of the events giving rise to this Cornplaint

occurred Witliin this Di.sti'ict.

FACTUAL ALLEGATIONS
7. Catiin offered iiability insurance in Oregon7 including liquor liability coverage for
licensed sellers of alcohol
S. Ciub l\/iystic purchased from Catlin a policy of liability insurance Tbe insurance

policy insured against liability for injuries caused by tlic negligence of Club Mystic and
contained a Lic;uor inability Coverage Part purporting to provide coverage sufficient to comply
Witb Oregon Revised Statute 47§.168.

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9. Catlin was aware that Oregon Revised Statute 471.168 required Club l\/lystic to
purchase liquor liability insurance for the purpose of providing coverage for persons injured by
the conduct of intoxicated patrons who were served alcoholic beverages on the licensed premises
While visibly intoxicated

lO. Club Mystic paid ali insurance premiums and satisfied all conditions required by
Catlin under the insurance policy to secure liability coverage for injuries caused by the
negligence of Club Mystic and/or injuries caused by patrons who were served alcohol while
visibly intoxicated

11. On or about August 11, 2012, while preparing to depart the parking lot on the
premises of Club l\/lystic, Gauthier was severely injured in an attack initiated by several Club
l\/lystic customers whose identity was never determined (“Unidentified Customers”).

12. Gauthier filed a lawsuit for personal injuries against Club l\/lystic. ln his iawsuit,
Gauthier alleged that Club l\/lystic served alcohol to the Unidentified Custom.ers. Gauthier
alleged that such service was a substantial factor in causing the attack and his injuries Gau.thier
further alieged that Club l\/lystic removed the Unidentified Custorners from the bar for unruly
and aggressive behavior, but negligently failed to remove them from the parking lot. Gauthier
alleged that the failure to remove the Unidentiiied Custorners from the parking lot was a
substantial factor in causing the attack and injuries Gauthier further alleged that Ciub Mystic
negligently failed to warn patrons, including himself, about the unruly Unidentii.ied Customers as
he prepared to depart the premises Gauthier alleged that Club Mystic’s negligent failure to warn
was a substantial iactor in causing the attack and his injuries G‘authier further alleged that Club
l\/iystic Was negligent through an employee Work'ing in the capacity of a security guard or

houncer who observed the attack and failed to intervene or call the police or call for emergency

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assistance for several minutes during and after the attack. Gauthier alieged that the failure to
intervene and assist during and after the attack was a substantial factor in causing his injuries and
damages Gauthier further alleged that Club i\/iystic was negiigent, through the security
guard/bouncer, because instead of helping Gauthier, he negligently prevented non-employee
bystanders from intervening on behalf of Gauthier. Gauthier aileged that the preventing
bystanders from intervening was a substantial factor in causing his injuries and damages
Gauthier further aileged that Clu’o l\/lystic negiigently failed to make the premises reasonably
safe for plaintiff1 s visit and such negligence was a substantiai factor in causing piaintift” s injuries
and damages

l3. Club Mystic, on multiple occasions, presented Crauthier’s lawsuit to Catlin and
requested that Catlin provide a legai defense and payment of any damages owed to Gauthier as
result of the incident

14. Catlin refused to provide a defense of the Gauthier lawsuit and refused to cover
any damages owed to Gauthier.

15. Club Mystic, to limit its -tinancial risk and to buy peace, entered into a conditional
settlement agreement with Gauthi.er. Under the settlement agreement, Gauthier agreed to accept
judgment against Club l\/lystic for $563,146.48, plus costs and interest G'authier also took an
assignment of Club Mystic’s rightful claim for insurance coverage and related damages against
Catlin, but Gauthier agreed to enforce the judgment only to the extent of recovery under Club
l.\/iystic’s rights for insurance bene§its against Catlin.

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FIRST CLAli\/l FOR RELIEF
(Breach of Contract)

16. Catlin breached its contractual obiigations under Club l\/lystic’s insurance contract
by failing to defend the Gauthier lawsuit and by faiiing to cover Gauthier’s damages

i7. Piaintiffs are entitled to recover from Catiin $563,§46.48, plus costs, interest and
their attorney fees pursuant to ORS 742.061.

SEC()ND CLAIM F()R RELIEF
(Breach of lmplied Covenant of Good Faith and Fair Dealing)

13. Catlin, in bad faith and without reasonabie investigation and despite accepting
premium payments intended to provide liability coverage for negligence and to satisfy ORS
471.168, failed to defend Club Mystic and failed to cover Gauthier’s damages from the incident

19. Plaintiffs are entitled to recover from Catlin $563,1¢§6.48, plus costs, interest, and
attorney fees pursuant to ORS 742.061.

PRAYER FOR RELIEF
WHEREFORE, plaintiffs pray for judgment against defendant in the amount of

$563,§46.48, plus costs, interest, and attorney fees

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Dated: June l § 2015 Respectfuily submitted,

MARK E. OLMSTED, PC

   

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